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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


DANNY HILL,                                    )    CASE NO. 1:03cr173
                                               )     (Related Case No. 1:08cv373)
               Petitioner,                     )
                                               )    JUDGE JOHN R. ADAMS
       vs.                                     )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )    MEMORANDUM OF OPINION
               Defendant.                      )    AND ORDER
                                               )    [Resolving Docs. 363, 366]
                                               )


       This matter comes before the Court on Petitioner’s Motion to Vacate his sentence under

28 U.S.C. § 2255 (Doc. 363, Case No. 1:03cr173). Petitioner originally captioned this motion as

a Motion to Vacate Judgment under Fed. R. Civ. P. 60(b). However, the Court has construed

that motion as one under 28 U.S.C. § 2255, in which Petitioner seeks to have his sentence

vacated. Petitioner states as the basis of his motion “the recent findings against the Fed. Agent

on [Petitioner’s] case named LEE LUCAS[.]” Subsequently, Petitioner filed a “Motion for

Relief from Judgment” pursuant to Fed. R. Civ. P. “60(b)(2)(3).” (Doc. 366, Case No.

1:03cr173.) The Government has responded in opposition to both motions. The Court has been

advised, having reviewed Petitioner’s motions, the Government’s responses, and applicable law.

For the reasons set forth herein, Petitioner’s motions are both DENIED.

       Petitioner pled guilty to charges of conspiracy to distribute and possess with intent to

distribute heroin, and was sentenced on November 12, 2003. However, he did not move for

vacation of his sentence until February 14, 2008, and did not file the subsequent motion for relief

from judgment until March 10, 2008.
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II.       Legal Standard

          Under 28 U.S.C. § 2255, a federal inmate is provided with a post-conviction means of

collaterally attacking his conviction or sentence. In re Gregory, 181 F.3d 713, 714 (6th Cir.

1999). Motions brought under § 2255 are the sole means by which a federal prisoner can

collaterally attack a conviction or sentence that he alleges to be in violation of federal law. See

Davis v. United States, 417 U.S. 333 (1974); Cohen v. United States, 593 F.2d 766, 770 (6th Cir.

1979).

          Under § 2255 there are four grounds upon which federal prisoners may challenge their

conviction or sentence: (1) “the sentence was imposed in violation of the Constitution or laws of

the United States”; (2) “the court was without jurisdiction to impose such sentence”; (3) “the

sentence was in excess of the maximum authorized by law”; or (4) the sentence is “otherwise

subject to collateral attack.” 28 U.S.C. § 2255(a); Hill v. United States, 368 U.S. 424, 426-27

(1962).

          In order to prevail on a § 2255 motion alleging constitutional error, the petitioner must

establish that an error of constitutional magnitude existed that had a substantial, injurious effect

or influence on the proceedings. McNeil v. United States, 72 F. Supp.2d 801, 803 (N.D.Ohio

1999) (citing Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999)). In order to prevail on

a § 2255 motion alleging non-constitutional error, the petitioner must establish a “fundamental

defect which inherently results in a complete miscarriage of justice, or an error so egregious that

it amounts to a violation of due process.” United States v. Ferguson, 918 F.2d 627, 630 (6th Cir.

1990) (citing Hill, 368 U.S. at 428).

          “[N]o hearing is required if the petitioner’s allegations ‘cannot be accepted as true

because they are contradicted by the record, inherently incredible, or conclusions rather than


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statements of fact.’” Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting

Engelen v. United States, 68 F.3d 238, 240 (8th Cir.1995)).             “Furthermore, Petitioner’s

‘allegations of prejudice must be specific, concrete and supported by the evidence - vague,

speculative, or conclusory allegations will not suffice.’” Savoca v. United States, Case No.

1:06CV1747, 2008 WL 906122 (N.D.Ohio 2008) (quoting United States v. Fuesting, 845 F.2d

664, 669 (7th Cir.1988)).

III.    Analysis

        Both of Petitioner’s motions were originally filed as motions under Rule 60(b) of the

Federal Rules of Civil Procedure. The Court construed the first motion (Doc. 363) as a § 2255

motion because Fed. R. Civ. P. is entirely inapplicable to criminal proceedings or to proceedings

for the vacation of a criminal sentence. The second motion (Doc. 366) is still styled a Fed. R.

Civ. P. 60(b) motion. Inasmuch as both motions may have been intended to be 60(b) motions,

they are denied because of the inapplicability of that rule to these proceedings.

        Inasmuch as either motion could be construed as a § 2255 motion, each is also denied.

Petitioner has provided no more than bald assertions that Agent Lucas was involved in his case,

and that this should result in the vacation of his sentence. In his first motion, he has cited a case

in which all of the defendants’ convictions were overturned on the basis of the cooperating

defendant’s having perjured himself. See United States v. Nabors, 2008 WL 222505 (N.D. Ohio

2008). However, there is no evidence in the record that either Agent Lucas or the cooperating

defendant in the Nabors case had any involvement in Petitioner’s case, nor has Petitioner

provided any such evidence, which is his burden. Petitioner’s motion provides nothing more

than a “vague, speculative, or conclusory allegation,” which clearly does not suffice to present a

claim under § 2255.


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       As Petitioner has provided no support for his assertion regarding Agent Lucas, and has

therefore failed to demonstrate that his claim has recently arisen, the Court further finds that

Petitioner is well outside of the one-year statute of limitations for bringing a claim under 28

U.S.C. § 2255(f). For all of the above reasons, Petitioner’s motions are DENIED.

       IT IS SO ORDERED.


DATED: May 20, 2008                                /s/ John R. Adams_________________
                                                   Judge John R. Adams
                                                   UNITED STATES DISTRICT COURT




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